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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA ex rel.
 ANIL KINI,

                Plaintiff-Relator,

         v.                                                 Civil Action No. 17-cv-02526 (TSC)

 TATA CONSULTANCY SERVICES,
 LTD.,

                Defendant.


                                            ORDER

       The United States has declined to intervene in this action pursuant to the False Claims

Act, 31 U.S.C. § 3730(b)(4)(B). See Notice of Election to Decline Intervention, ECF No. 15.

The court therefore ORDERS:

   1. The Complaint be unsealed and served upon the Defendant by the Relator;

   2. All other contents of the Court’s file in this action shall remain under seal and shall

       not be made public or served upon the defendant, except for this Order and the United

       States’ Notice of Election to Decline Intervention, which the Relator shall serve upon

       the Defendant only after service of the Complaint;

   3. The seal shall be lifted as to all other matters occurring in this action after the date of

       this Order;

   4. The parties shall serve all pleadings and motions filed in this action, including

       supporting memoranda, upon the United States, as provided for in 31 U.S.C. §

       3730(c)(3). The United States may order any deposition transcripts and is entitled to

       intervene in this action, for good cause shown, at any time;

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   5. The parties shall serve all notices of appeal upon the United States;

   6. All orders of this Court shall be sent to the United States; and

   7. Should the Relator or the Defendant propose that this action be dismissed, settled, or

      otherwise discontinued, the court will solicit the written consent of the United States

      before ruling or granting its approval. The Relator or Defendant must include a

      proposed order for the court to issue seeking such written consent.



Date: August 29, 2022

                                                Tanya S. Chutkan
                                                TANYA S. CHUTKAN
                                                United States District Judge




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